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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN THE MATTER OF:                                   :
       KENNETH J. TAGGART
                                                    :           CA 22-cv-475

                                                    :



                                          NOTICE

         The record on appeal from the Bankruptcy Court in the above captioned case was

entered on the docket in this office on 2/4/22 and has been assigned to the Honorable JOHN M.

YOUNGE.

         The following is the schedule for filing briefs with this office:

       (1) The Appellant shall serve and file his brief within 30 days after entry of the record
on appeal.

         (2) The Appellee shall serve and file his brief within 30 days after service of the brief
of the Appellant.

          (3) The Appellant may serve and file a reply brief within 14 days after service of the
brief of the Appellee.


                                                    KATE BARKMAN
                                                    Clerk of Court


                                                    By: s/Frank Del Campo
                                                       Frank Del Campo, Deputy Clerk


cc:      Taggart
         Conway

civ651.frm
(06/2016)
